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9
10                                UNITED STATES DISTRICT COURT
11                              NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                     )       No. CR 05-00447 CRB
                                                   )
15           Plaintiff,                            )       STIPULATION AND [PROPOSED]
                                                   )       ORDER CONTINUING STATUS
16      v.                                         )
                                                   )
17   MISUK MOORE,                                  )
                                                   )
18           Defendant.                            )
                                                   )
19
             This matter is currently on the Court’s calendar for June 7, 2006. Defendant Misuk
20
     Moore and the United States ask the Court to vacate the June 7, 2006 date based on the fact that
21
     the parties are finalizing the terms of a resolution (which contemplates the defendant’s dismissal)
22
     and set a status date of June 28, 2006 at 2:15 p.m.
23
     STIPULATED:
24
25
26     May 26, 2006                                  /S/ PETER B. AXELROD
     DATE                                          PETER B. AXELROD
27                                                 LAUREL BEELER
                                                   Assistant United States Attorneys
28
     ORDER
     CR 05-00447 CRB
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1
2       May 26, 2006                                  /S/ MICHAEL STEPANIAN
     DATE                                          MICHAEL STEPANIAN
3                                                  Attorney for Defendant Misuk Moore
4
5                                                 ORDER
6           For good cause shown, and for the reasons stated above, the Court vacates the June 7,
7    2006, hearing date for defendant Misuk Moore based the anticipated dismissal of this defendant
8    and sets a status date of June 28, 2006 at 2:15 p.m.
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9           IT IS SO ORDERED.




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12           June 2, 2006
     DATED:________________                        ___________________________
                                                   CHARLES R. BREYER
                                                                                     er
13                                                                           R. Brey
                                                   United States DistrictlesJudge
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     ORDER
     CR 05-00447 CRB
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